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    GOOGLE LLC AND ALPHABET INC.
 11
                        UNITED STATES DISTRICT COURT
 12
                      SOUTHERN DISTRICT OF CALIFORNIA
 13
                             SAN DIEGO DIVISION
 14
 15 AYNUR BAGHIRZADE,                              )   Case No.: 3:24-CV-01077-RSH-MMP
                                                   )
 16                 Plaintiff,                     )   NOTICE OF MOTION TO
                                                   )   DISMISS PLAINTIFF’S SECOND
 17          v.                                    )   AMENDED COMPLAINT BY
                                                   )   DEFENDANTS GOOGLE LLC
 18 ARMENIAN NATIONAL                              )   AND ALPHABET INC.
    COMMITTEE OF AMERICA, et al.,                  )
 19                                                )   Date: December 30, 2024
            Defendants.                            )   Time: TBD
 20                                                )
                                                   )   Before: Before: Judge Robert S. Huie
 21                                                )
                                                   )
 22                                                )
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      GOOGLE LLC AND ALPHABET INC.’S NOTICE OF                      CASE NO.: 3:24-CV-01077-RSH-MMP
      MOTION TO DISMISS SECOND AMENDED COMPLAINT
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   1          PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 12(b)(6),
   2 Defendants Google LLC and Alphabet Inc. (together, “Google”) hereby move the
   3 Court for an order dismissing Plaintiff’s Second Amended Complaint (ECF No. 96)
   4 against them. This motion is set for December 30, 2024, for purposes of calculating
   5 reply and opposition deadlines; however, per Chambers rules, no oral argument will
   6 be held on the Motion unless separately ordered by the Court.
   7          This motion is made on the grounds that the Second Amended Complaint fails
   8 to state a claim on which relief can be granted against Google, as discussed in the
   9 attached Memorandum of Points and Authorities.
 10
 11                                             Respectfully submitted,
 12 Dated: November 25, 2024                    WILSON SONSINI GOODRICH & ROSATI
                                                Professional Corporation
 13
 14                                             By: s/ Nicholas E. Hakun
 15                                                 Nicholas E. Hakun
                                                    (Admitted Pro Hac Vice)
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 17                                                 Attorney for Defendants
                                                    GOOGLE LLC and ALPHABET INC.
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       GOOGLE LLC AND ALPHABET INC.’S NOTICE OF                      CASE NO.: 3:24-CV-01077-RSH-MMP
       MOTION TO DISMISS SECOND AMENDED COMPLAINT
